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                        PROSPECTIVE JUROR QUESTIONNAIRE

                                    Additional Instructions




       You may recall that on Wednesday, the questionnaire you filled out did not have a list of

names of individuals who may be called as witnesses or discussed in this case. That list is

provided to you here. Please review the list while you are waiting, and be prepared to discuss

with the Judge during your individual questioning whether you recognize anyone on this list or

know them personally.




                                             THE HONORABLE CHRISTOPHER R. COOPER
                                             United States District Judge
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                                      ATTACHMENT A

       The following people may either be witnesses in this case or may be discussed during the
trial. Please review the list and identify any names that you recognize.




   1. Trisha Anderson                                   21. Thomas McMahon

   2. Manos Antonakakis                                 22. Jonathan Moffa

   3. James Baker                                       23. Robby Mook

   4. Nathaniel Batty                                   24. Jared Novick

   5. Mark Chadason                                     25. E. William Priestap

   6. David Dagon                                       26. Allison Sands

   7. Steven DeJong                                     27. Laura Seago

   8. Debbie Fine                                       28. Scott Schools

   9. Marc Elias                                        29. Trevor Varnes

   10. Ryan Gaynor                                      30. Kori Arsenault

   11. Ben Gessford

   12. Walter Giardina

   13. Tashina Gauhar

   14. Thomas Grasso

   15. Curtis Heide

   16. Scott Hellman

   17. Michael Horowitz

   18. Eric Lichtblau

   19. David Martin

   20. Mary McCord
